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12                                 UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   UNITED STATES OF AMERICA,                            Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                  UNITED STATES’ REPLY IN SUPPORT OF
                                                         MOTION IN LIMINE TO ADMIT EVIDENCE
17                                                       OF UNDERCOVER CONTACTS
                            v.
18                                                        Hearing.:          October 17, 2022
     CARLOS E. KEPKE,                                     Time:              10:30 a.m.
19                                                        Place:             Courtroom 11, 19th Floor
             Defendant.
20

21          The United States of America hereby respectfully responds to Defendant’s “Opposition to
22 Government’s Motion to Admit Evidence of Undercover Contacts,” filed on August 24, 2022 (ECF No.

23 72) (“Opposition”), as follows:

24          A.      The Undercover Evidence Is Admissible As Direct Evidence Of Defendant’s Crimes
25          In cases involving schemes to defraud, evidence establishing the existence of the underlying
26 scheme is admissible as direct evidence. See United States v. Loftis, 843 F. 3d 1173, 1177 (9th Cir.

27 2016); United States v. Kail, 18-cr-00172-BLF, 2021 WL 3773613, at *4 (N.D. Cal. Aug. 25, 2021);

28 see, e.g., United States v. Whitfield, 37 F.3d 1503, 1994 WL 543475, at * 1 (8th Cir. 1994)
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 1 (unpublished) (“At trial, several individuals testified that [Defendant] prepared their returns and, without

 2 their knowledge, made false entries – like those discussed with [the undercover agent] – to assure that

 3 they received a refund check. Thus, [evidence of undercover operation] was probative of the crimes

 4 charged, and was not ‘other crimes’ evidence.”). Here, as discussed in the Government’s Motion in

 5 Limine to Admit Evidence of Undercover Contacts, filed on August 10, 2022, ECF No. 66 (“Motion”),

 6 the Undercover Evidence includes Defendant’s repeated invocation of the scheme alleged in the

 7 Indictment, including suggesting that one undercover agent name his trust something akin to

 8 “Excelsior,” the exact name used by the Belizean trust Defendant created and maintained for Robert

 9 Smith (as alleged in the Indictment), boasting of his billionaire clients (including Smith), introducing

10 one of the undercover agents to Emil Arguelles, a Belizean attorney whose company, Orion, actually

11 served as trustee of Smith’s Excelsior Trust for several years, and telling the undercover agents that the

12 only work he did as an attorney was advising clients in creating offshore tax structures. Defendant’s

13 invocation of the charged scheme is direct evidence of existence of that scheme.

14          B.      Alternatively, The Undercover Evidence Is Admissible Under Rule 404(b)

15          In the alternative, the Undercover Evidence is admissible under Rule 404(b). The Ninth

16 Circuit applies a four-part test to determine whether evidence of other acts should be admitted. See

17 United States v. Mayans, 17 F.3d 1174, 1181 (9th Cir. 1994).

18          First, the Undercover Evidence tends to prove a material point, namely Defendant’s state of

19 mind. In criminal tax cases, the government bears the burden of proving willfulness, and courts

20 recognize that a broad range of evidence can be relevant to prove a defendant’s subjective state of mind.

21 See United States v. Collorafi, 876 F.2d 303, 305 (2d Cir. 1989); see also United States v. Daraio, 445

22 F.3d 253, 264 (3d Cir. 2006). Courts have repeatedly held that evidence that tax return preparers created

23 uncharged, false tax returns for undercover agents is admissible under Rule 404(b) in criminal tax cases.

24 See, e.g., United States v. Baker, 522 Fed. App’x 244, 247-48 (5th Cir. 2013) (unpublished); United

25 States v. Cadet, 664 F.3d 27, 33 (2d Cir. 2011); Whitfield, 1994 WL 543475, * 1; United States v.

26 Campbell, 142 F. Supp. 3d 298, 301 (E.D.N.Y. 2015); United States v. Oskowitz, 294 F. Supp. 2d 379,

27 382 (E.D.N.Y. 2003); see also United States v. Imariagbe, 679 Fed. App’x 261, 262 (4th Cir. 2017)

28 (unpublished) (admitting evidence under Rule 404(b), although not undercover evidence, in criminal tax
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 1 case); United States v. Watson, 433 Fed. App’x 284, at *2 (5th Cir. 2011) (unpublished) (same); United

 2 States v. Ali, 616 F.3d 745, 752-53 (8th Cir. 2010) (same); United States v. Bok, 156 F.3d. 157, 165 (2d

 3 Cir. 1998) (same). The Opposition seeks to diminish these decisions on the grounds that they allowed

 4 evidence to show lack of mistake, which the Opposition claims will not be at issue here. See Opposition

 5 at 15-16. But this focus on lack of mistake, as opposed to intent more generally, is excessively narrow.

 6 As anticipated in the Motion, and tacitly admitted by Defendant in another pleading,1 Defendant’s intent

 7 is likely to be disputed at trial. And while many of the cited decisions may include lack of mistake as

 8 one of the grounds for admission, they are clearly focused on the broader issue of intent, which is a basis

 9 for admission under 404(b). With respect to that issue, it is not a close call. See Cadet, 664 F.3d at 33

10 (“[Defendant’s uncharged] preparation of a false return for [an undercover IRS agent] was ‘sufficiently

11 similar’ to the charged conduct to be relevant to – and indeed ‘highly probative of’ – knowledge and

12 intent.”); Campbell, 142 F. Supp. 3d at 301 (“It is hard to imagine a more clear-cut example of

13 appropriate Rule 404(b) evidence than [evidence of undercover operation during which defendant

14 falsified an undercover IRS agent’s tax return]. . . . That return and evidence of the undercover meeting

15 are therefore highly probative of [defendant’s] knowledge, intent, and lack of mistake in preparing

16 similar false returns for his clients.”). Even if Defendant did not dispute his willfulness, that would not

17 prevent the government from proving his intent at trial. See, e.g., Ali, 616 F.3d at 753 (“Even if

18 [Defendant] did not actively dispute intent for each count, it was permissible for the government to

19 present evidence of willfulness.”).

20              It is true that decisions exist which question the probative value of evidence of acts which

21 occurred after the charged conduct, also known as subsequent acts. See United States v. Boyd, 595 F.2d

22 120, 126 (3rd Cir. 1978); United States v. Hodges, 770 F.2d 1475, 1480 (9th Cir. 1985). But more

23 recent Ninth Circuit decisions make clear that subsequent acts are admissible under Rule 404(b), see

24 United States v. Ayers, 924 F.2d 1468, 1473 (9th Cir. 1991), and the Ninth Circuit has explicitly rejected

25 the reasoning of Boyd. See United States v. Bibo-Rodriguez, 922 F.2d 1398, 1400 (9th Cir 1991). The

26
     1
27  Defendant previewed this defense in his response to the Government’s motion to exclude his proffered
   expert witness, Rodney Read. See ECF No. 71 at 13 (“Mr. Read’s testimony is essential to the defense
28 because he will establish a factual predicate for the jury to conclude that Mr. Kepke did not act
   willfully.”).
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 1 relevant language from Hodges is dicta which is inconsistent with subsequent Ninth Circuit decisions

 2 and does not appear to have been cited or adopted by any subsequent decision. The Opposition also

 3 cites United States v. Dowie, 411 Fed. App’x 21 (9th Cir. 2010) (unpublished), but that opinion is

 4 unhelpful because it dealt with a defendant’s efforts to admit evidence of his own post-offense

 5 cooperation in order to prove his lack of intent to engage in a conspiracy, clearly a dubious proposition.

 6 Given the strength of the logical connection between the Undercover Evidence and the charged conduct,

 7 the wealth of authority supporting the argument that subsequent undercover investigations are

 8 admissible in criminal tax cases, and the dearth of contrary authority, there is little doubt that the first

 9 Mayans element is satisfied – the Undercover Evidence tends to prove a material point.

10          Second, the Undercover Evidence is not too remote in time. The conspiracy alleged in Count

11 One of the Indictment extended from 1999 until October 2015 (not December 31, 2014, as the

12 Opposition suggests, see Opposition at 16) and the Undercover Evidence was collected in 2017 and

13 2018. This time gap is negligible given the 15-year duration of the alleged conspiracy, and Defendant’s

14 boast to an undercover agent that he had been engaged in similar schemes for 25 to 30 years. Hodges

15 sheds no light on this issue, as the opinion does not turn on remoteness. Moreover, the facts of that case

16 are easily distinguishable as the evidence erroneously admitted there (the defendant attempted to extort a

17 coconspirator, threatened to have the coconspirator murdered, and “terrified” the coconspirator, see

18 Hodges, 770 F.2d at 1478) was highly prejudicial, and nothing like the evidence the government offers

19 here. The decision in United States v. Jimenez, 613 F.2d 1373 (5th Cir. 1980) is also unhelpful, as that

20 drug case involved classic propensity evidence which was entirely unsubstantiated and offered with no

21 limiting instruction. More helpful is United States v. Iverson, 162 F.3d 1015 (9th Cir. 1998) in which

22 the Ninth Circuit noted that “this court repeatedly has upheld the admission of evidence of prior acts that

23 are more than seven years old,” and held that “[w]hether a prior act is too remote depends on the theory

24 that makes it admissible and the similarity of the act to the current charge.” Id. at 1027. Here, the

25 theory that makes the Undercover Evidence admissible is that it demonstrates Defendant’s willfulness

26 (an element with respect to which “courts should follow a liberal policy in admitting evidence,”

27 Collorafi, 876 F.2d at 305), and the Undercover Evidence reveals that Defendant advised undercover

28 agents to implement schemes virtually identical to the one charged in the Indictment. Thus, the second
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 1 Mayans element is satisfied – the Undercover Evidence is not too remote.

 2          Third, the Opposition’s argument with respect to the third Mayans element is puzzling. The

 3 Undercover Evidence is defined in the Motion, consists almost entirely of communications with

 4 Defendant (both written and recorded), and was produced to Defendant in connection with this

 5 prosecution months ago. To the extent the Opposition suggests that 404(b) does not cover

 6 communications, but rather only physical acts, that argument is unsupported and not well taken. The

 7 third Mayans element is satisfied – the Undercover Evidence is evidence of Defendant’s conduct.

 8          Fourth, the conduct documented in the Undercover Evidence is remarkably similar to the

 9 charged offense. The scheme Defendant tried to sell to two undercover agents is virtually identical to

10 the scheme he is accused of establishing and maintaining for Smith. The Opposition seizes on a minor

11 difference between the two schemes: the fact that Kepke instructed the undercover agents to

12 manufacture sham transactions and structure cash withdrawals in order to funnel money to a nominee,

13 while there is no evidence that he gave Smith similar advice. See Opposition at 19. In fact, the evidence

14 at trial will show that Smith (and not his nominee Settlor) funded the Excelsior Trust. In any event, the

15 differences between the two schemes is minor when compared to the similarities – even ignoring

16 evidence that Defendant instructed the undercover agents to manufacture sham transactions and

17 structure cash withdrawals, the scheme Defendant proposed to undercover agents, and the scheme he

18 executed with Smith, both involved: using a relative as a nominee to establish a sham trust to create the

19 illusion that the client was not the true creator; installing a nominee, offshore trustee to create the false

20 appearance that the trust was under independent control; creating an offshore holding company and

21 installing a nominee, offshore manager to create the false appearance that the company was under

22 independent control; assigning assets and income which the client actually earned to the holding

23 company; and allowing the client to control those assets by filtering instructions to the offshore

24 nominees through Defendant. In addition, during the undercover operation, Defendant introduced one

25 of the undercover agents to Emil Arguelles, a Belizean attorney who was involved in Smith’s structure,

26 and made multiple veiled references to Smith, including suggesting that an undercover agent give his

27 offshore trust the same name as Smith’s – the Excelsior Trust. Perhaps most importantly, as Defendant

28 himself repeatedly advised the undercover agents, the goal of the structure Defendant pitched to the
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 1 undercover agents was defeating taxation on assets held within the offshore structure, which was also

 2 the purpose of Smith’s offshore structure. These schemes are remarkably similar, and the Undercover

 3 Evidence is obviously relevant for purposes other than propensity. The fourth Mayans element is

 4 satisfied.

 5              Finally, to the extent there is any doubt about the application of Rule 404(b), the fact that the

 6 Undercover Evidence would be highly corroborative of Smiths’ anticipated testimony that Defendant

 7 gave Smith the same fraudulent advice he gave the undercover agents should resolve that doubt in favor

 8 of admission, and the Opposition makes no coherent argument to the contrary.

 9              C.      The Undercover Evidence Should Not Be Excluded Under Rule 403

10              “Relevant evidence can be excluded under Rule 403 if the trial court finds that the probative

11 value of the evidence is substantially outweighed by the danger of unfair prejudice to the defendant.”

12 United States v. Patterson, 819 F.2d 1495, 1505 (9th Cir. 1987). 2 This rule reflects “a basic policy

13 favoring admissibility of relevant evidence,” United States v. Hearst, 563 F.2d 1331, 1348-49 (9th Cir.

14 1977), and exclusion under Rule 403 “has been characterized . . . ‘as an extraordinary remedy to be used

15 sparingly because it permits the trial court to exclude otherwise relevant evidence.’” Patterson, 819

16 F.2d at 1505 (quoting United States v. Meester, 762 F.2d 867, 874-75 (11th Cir. 1985)).

17              Far from having “minimal” probative value, Opposition at 22, the Undercover Evidence is highly

18 probative circumstantial evidence of Defendant’s intent. See Cadet, 664 F.3d at 33 (evidence of IRS

19 undercover operation “highly probative” of Defendant’s knowledge and intent); Campbell, 142 F. Supp.

20 3d at 301 (evidence of IRS undercover operation “highly probative” of Defendant’s knowledge, intent,

21 and lack of mistake); Oskowitz, 294 F. Supp. 2d at 383 (“I do not believe that there will be much

22 prejudice to the defendant from the introduction of [evidence of IRS undercover operation], let alone

23 prejudice that would substantially outweigh its probative value. However, to reduce any possible

24 prejudice I will issue a limiting instruction to the jury.”); see also United States v. Stagg, 136 Fed. App’x

25 63, 66 (9th Cir. 2005) (unpublished) (evidence of prior fraudulent investment schemes was highly

26

27   2
     The Opposition misstates the Rule 403 standard. See Opposition at 21 (“Other acts evidence that is
28 found to meet the requirements of Rule 404(b) must nonetheless be excluded under Rule 403 unless the
   Government shows that its probative value is outweighed by its prejudicial impact…”).
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 1 probative of defendant’s knowledge and intent with regard to the wire fraud charges, and any prejudice

 2 was mitigated by the district court’s limiting instructions); United States v. Klock, 8 Fed. App’x 620, 622

 3 (9th Cir. 2001) (unpublished) (undercover agent’s testimony about instruction he received at a “freemen

 4 seminar” was probative because it undercut an expert witness’s opinion that some seminar attendees

 5 formed a good faith belief regarding fraudulent financial instruments, and was not unfairly prejudicial,

 6 although agent did mention firearms and a general militaristic atmosphere). United States v. Espinoza-

 7 Baza, 647 F.3d 1182 (9th Cir. 2011), cited by the Opposition, is not pertinent because the probative

 8 value of the evidence at issue there was “at best, marginal.” Id. 1190.

 9          Because the Undercover Evidence at issue here is highly probative, any unfair prejudice would

10 have to be enormous to substantially outweigh the evidence’s probative value and trigger Rule 403, and

11 it is not. The Opposition does not even argue that the Undercover Evidence, as a whole, is unfairly

12 prejudicial. Rather, it focusses on a few differences between the Undercover Evidence and the charged

13 scheme, including Defendant’s advice that an undercover agent manufacture sham transactions and

14 structure cash withdrawals to funnel money to a nominee. But this ignores the overwhelming

15 similarities between the Undercover Evidence and the charged scheme. And even if the minor

16 differences were problematic, the proper remedy would be to exclude only those specific statements that

17 are unfairly prejudicial rather than all of the Undercover Evidence. The proper tool is a scalpel – not an

18 axe. See, e.g., United States v. Keller, No. 18-cr-00462-VC, 2021 WL 5150642, at *2 (N.D. Cal. Nov.

19 5, 2021) (excluding only those excerpts of certain medical board records that were inadmissible under

20 Rules 402, 403, or 404(b)). The Opposition’s suggestion that the Undercover Evidence should be

21 replaced by third-party testimony or sanitized language from Defendant’s website, Opposition at 21, is

22 contrary to the cited authority, United State v. Merino-Balderrama, 146 F.3d 758 (9th Cir 1998), under

23 which the Rule 403 analysis is adjusted only where the alternative evidence has “substantially the same

24 or greater probative value” as the offered evidence. Id. at 761. Obviously, Defendant’s website – which

25 was prepared for public dissemination – is not nearly as probative of his true state of mind as a recording

26 of advice he actually gave to clients in private. The jury is entitled to hear Defendant’s own, unfiltered

27 description of his law practice, and any prejudice is neither unfair nor substantially heavier than the

28 Undercover Evidence’s probative value. Moreover, any potential prejudice can be effectively mitigated
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 1 by a cautionary instruction limiting the jury’s consideration of the Undercover Evidence to the Rule

 2 404(b) purposes for which it is offered. Thus, the Undercover Evidence should not be excluded under

 3 Rule 403.

 4          For the reasons stated above, the Court should grant the United States’ Motion in Limine to

 5 Admit Evidence of Undercover Contacts in its entirety.

 6

 7 Respectfully submitted on August 31, 2022                    STEPHANIE M. HINDS
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